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     MAERSK LINE
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8                                UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA
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11   MAERSK LINE,                      )           Case No.
12                                     )
                        Plaintiff,     )           IN ADMIRALTY
13                                     )
14   vs.                               )           COMPLAINT FOR MONEY DUE
                                       )           UNDER TARIFF & SERVICE
15
     GALLYN CORP.                      )           CONTRACTS, BREACH OF
16                                     )           CONTRACT(S), GOODS WARES AND
17                     Defendant.      )           SERVICES; OPEN BOOK ACCOUNT
     __________________________________)
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20   Maersk Line alleges that:
21                                         FIRST COUNT
22                      (For Money due Under Tariff & Service Contracts)
23            1.   This Court has jurisdiction under 28 U.S.C. §§1331 and 1333. This matter arises
24   under the laws of the United States, in particular, The Shipping Act of 1984, (as amended) 46
25   U.S.C. §§40101 et seq. (hereinafter "The Act"), and involves contract(s) within the
26   jurisdiction or claims pendent or ancillary to the same. This is an admiralty and maritime
27   claim.
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1           2.     Maersk Line (hereinafter “Plaintiff”) is a common carrier by water, inter alia,
2    in the interstate and foreign commerce of the United States as defined in The Act and was
3    such a common carrier for the benefit of Gallyn Corp. (“Defendant”).
4           3.     Defendants, and each of them, are, and were at all times herein mentioned, a
5    natural person, firm, association, organization, partnership, corporation, business, trust, or
6    public entity, with its place of business or residence in this district and is and was a legal
7    entity capable of being sued. Each defendant is believed to be the agent or alter-ego of each
8    remaining defendant.
9           4.     Venue is proper in this judicial district because it is where the claim arose and/or
10   because defendant(s) resides or does business in the district and/or defendant(s) are aliens.
11          5.     Plaintiff has filed a schedule of its rates and charges and service contracts for
12   the carriage of cargo, ocean freight, wharfage and dockage detention and demurrage and
13   related charges with the Federal Maritime Commission or has otherwise maintained said
14   rates, charges, tariffs or service contracts pursuant to The Act. Pursuant to The Act, Plaintiff
15   is prohibited from transporting cargo for a lesser rate than that specified in its tariffs or service
16   contracts. The Act also prohibits Defendant from obtaining transportation or attempting to
17   obtain transportation of cargo at lesser rates.
18          6.     Plaintiff transported cargo for the benefit of Defendant during 2017-2018 in the
19   foreign commerce of the United States in the course and scope of Defendant’s operations.
20   Such transportation and services provided are evidenced by Plaintiff's service contracts, bills
21   of lading and/or freight bills, invoices, credit agreements and freight guarantees, the terms of
22   which are incorporated herein through this reference. Plaintiff has fully performed its tariff
23   and contractual obligations. A summary of the relevant bills of lading and invoices are
24   attached hereto as Exhibit “A” and made a part hereof.
25          7.     Plaintiff has demanded that Defendant pay the amount due to Maersk.
26          8.     Defendant has knowingly and willfully failed and refused to pay Plaintiff the
27   full amount due.
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1          9.     Consequently, Defendant is liable to Plaintiff in the amount of $13,396.41 plus
2    reasonable attorneys' fees and interest thereon.
3                                           SECOND COUNT
4                                (For Breach of Written Contract(s))
5          10.    Plaintiff refers to paragraphs l through 9 of this complaint and incorporates them
6    herein by this reference.
7          11.    Said transportation was performed pursuant to a written contract(s) of carriage
8    and/or service contracts between Plaintiff and Defendant, as evidenced by said bills of lading
9    and/or invoices listed in Exhibit A.
10         12.    Plaintiff has fully performed its obligations under said contracts except those
11   obligations, if any, which Plaintiff was excused from performing.
12         13.    Plaintiff has demanded that Defendant pay the amount due under said contracts
13   and the Defendant has refused to pay thereon.
14         14.    Consequently, Defendant is liable to plaintiff in the amount of $13,396.41, plus
15   reasonable attorneys' fees and interest thereon.
16                                          THIRD COUNT
17                                 (For Goods Wares and Services)
18         15.    Plaintiff refers to paragraphs l through 14 of this complaint and incorporates
19   them herein by this reference.
20         16.    Within the last four (4) years, Defendant became indebted to Plaintiff for goods,
21   wares and services provided by Plaintiff to Defendant, as evidenced in Exhibit A for which
22   Defendant agreed to pay plaintiff.
23         17.    Despite due demand, the sum of $13,396.41 is now due, owing and unpaid for
24   said goods, wares and services.
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1                                           FOURTH COUNT
2                                       (For Open Book Account)
3          18.   Plaintiff refers to paragraphs l through 17 of this complaint and incorporates
4    them herein by this reference.
5          19.   Within the last four (4) years, Defendants became indebted to Plaintiff on an
6    open book account, as evidenced in Exhibit A which Defendants agreed to pay.
7          20.   Despite due demand, the sum of $13,396.41 is now due, owing and unpaid on
8    said open book account.
9          WHEREFORE, plaintiff prays for judgment against defendant as follows:
10               1.     For judgment in the principal amount of $13,396.41;
11               2.     For the costs of collection, according to proof;
12               3.     For costs of suit incurred herein, according to proof;
13               4.     For pre-judgment and post-judgment interest;
14               5.     For reasonable attorneys' fees; and
15               6.     For such other and further relief as the Court deems just and proper.
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17   Dated: July 6, 2020,
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19                                                 By:    _s/Stephen M. Uthoff____________
                                                          Stephen M. Uthoff
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                                                          The Uthoff Law Corporation
21                                                        Attorneys for Plaintiff
22                                                        MAERSK LINE
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